IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

PATRICIA EZELL,
Plaintiff,

No. 1:08~CV-00073
Judge Trauger

VS.

A.G.I.A., INC. and
LIFE INSURANCE COMPANY
OF NORTH AMERICA,

Defendant.
REPORT OF RULE 31 PROCEEDING

Pursuant to Rule 31, Section 5, Rules Of the Supreme Court cf
the State cf Tennessee, the Rule 31 Mediator, Tracy Shaw, reports
that the parties appeared and participated in mediation.

All matters in Contreversy' Were resolvedd An. Order Of

dismissal should be filed in the near future.

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Tracy Shaw}\#7172

HOWELL & FISHER, PLLC

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Nashville, TN 37201-1107
#615/244-3370

Rule 31 Mediator

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CERTIFICATE OF SERVICE

l Certify that a oopy of the foregoing Was served by postage
prepaid mail upon:

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oh this the 7th day of May, 2009.

ap

 

Tracy Shaw \J/

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